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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

NORTHWOOD, INC.,

                    Plaintiff(s),                                  CIVIL NO. 20-CV-13356
         v.

CLINICAL WOUND SOLUTIONS, LLC.,

           Defendant(s).
__________________________/

NOTICE OF TELEPHONIC SCHEDULING CONFERENCE AND ORDER TO APPEAR

         You are hereby ORDERED to appear before the Honorable Robert H. Cleland,

United States District Judge, for a telephonic scheduling conference on January 27,

2021 at 10:00 am.      Call in information as follows – 877-336-1274; Access Code –

7627118; Security Code – 3356.         You are directed to meet and confer before the

conference. See Fed. R. Civ. P. 26(f). 1

      Please FILE a JOINT 26(f) plan one week before the conference.

               TRIAL COUNSEL ARE EXPECTED TO ATTEND prepared to discuss:

1.       A summary of each claim and affirmative defense, and related issues, including
         a) the elements of proof and, b) the good faith factual foundation of each; 2



        1
          See for Practice Guidelines for Judge Robert H. Cleland: Case Management
Conference (Civil) within <http://www.mied.uscourts.gov/>
        2
           Counsel must try to narrow the issues in preparation for the conference. Fed. R. Civ.
P. Rule 16(c)(2)(A).       This includes the elimination (Awithout prejudice@) of presently
unsustainable claims and defenses. If a factual basis for a claim or defense is discovered only
later, add it then. Fed. R. Civ. P. 15(a)(2). Presenting a claim or a defense, counsel certifies
that what is said is warranted by law and that the Afactual contentions have evidentiary support .
. . .@ Fed.R.Civ.P. 11(b)(2) and (3) (emphasis added). A lengthy recitation of multitudes of
defenses, theoretically conceivable but tethered to nothing real in the case, looks like mindless
push-button boilerplate that diminishes the appearance of professionalism and almost never
produces useful results.
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2.       Nature of any corporate, partnership or LLC parties and confirmation that all
         corporate parties have filed the disclosure statement required by LR 83.4.
3.       The propriety of (or dispute about) subject matter jurisdiction;

4.       The possible relationship to other cases;

5.       The likelihood of pleading or party amendments, third-party complaints, etc.;

6.       The likelihood of expert testimony;

7.       Any discovery to date and complexity of additional discovery, Counsel are
         encouraged to commence their Fed. R. Civ. P. 26(a)(1) disclosures without delay
         and to begin discovery by mutual consent before the conference;

8.       Referral to state mediation practice or to private facilitation or arbitration;

9.       Consideration of magistrate judge consent jurisdiction or District Court bench
         trial;

10.      The likelihood of dispositive motion practice; the likelihood of settlement.

         In the event that trial counsel is not available for this conference, substitute

counsel with complete working knowledge of the case must appear and be fully

prepared to participate.     All commitments, representation, and deadlines decided and

announced at the conference, including trial and other dates, will be binding. 3

                                              BY ORDER OF THE COURT

                                              /S/ Lisa Wagner
                                              Case Manager and Deputy Clerk to
                                              Judge Robert H. Cleland
                                              810-292-6522




        3
        A substitute date may sometimes be arranged in consultation with the court=s
Case Manager especially when both parties agree.
